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UNITED sTATEs oF AMERICA, T@Hf:§g qi,nfi§jm

  
 

 

Plaintiff,
‘k
v. Criminal No. 04-20246-D
s MoTloN GRANTED
z ‘ f ""'
KEVIN MEADOWS *
Defendant * RN'cE BOUIE DCNALD

 

U.S. DISTR|CT JUDGE

 

MOTION OF TI~IE UNITED STATES FOR SENTENCING DEPARTURE PURSUANT
TO U.S.S.G. §SKI.I

 

Comes now the United States of America, by and through the United States Attorney for the
Western District of Tennessee and his duly authorized Assistant, David Pritchard, and would
respectfully move this Honorable Court for a downward departure pursuant to §5K1.1 of the United
States Sentencing Guidelines. The basis for the motion is as follows:

1. The Defendant testified as a Government witness in a trial involving violations of 18 U.S.C
922(g), 924(0) and 21 U.S.C. 841(a)(1). Defendant testified that he was a witness to drug
sales and weapons possession by the accused. Defendant also testified that he bought crack
cocaine from the accused.

2. The defendant’s assistance has been timely, truthful, complete and reliable.

3. The defendant’s assistance has placed members of his family in danger.

The defendant has provided substantial assistance to law enforcement and both he and the

cooperating witness have indicated a willingness to provide continued assistance

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w|th Ftule 55 and/or 32(|:)) FRCrP on

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WHEREFORE, counsel for the United States respectfully moves this Honorable Court to

depart downward from the Sentencing Guidelines in sentencing the defendant

Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

David Pritchard, BPR# 18187

Special Assistant United States Attorney
167 No. Main, Suite 800

Memphis, TN 38103

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CERTIFICATE OF SERVICE

I, David Pritchard, Special Assistant United States Attorney, hereby certify that a copy of the

foregoing motion has been forwarded to Ms. Mary Cay Jermaim, Attorney for the Defendant

David/Pritchard l
Special Assistant United States Attorney

This _7 day of September, 2005.

DISTIC COURT - WE"RNT DISRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20246 was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listedl

 

 

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Honorable Bernice Donald
US DISTRICT COURT

